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                                                                             CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                     )            DEFENDANTS               ( Check box if you are representing yourself                  )
                                                                                                THALES AVIONICS, INC., a Delaware corporation; THALES S.A., a public joint
WAMAR INTERNATIONAL, LLC, a California limited liability company                                stock company organized under the laws of France; JEAN-MARC BUDIN, an
                                                                                                individual; and DOES 1 through 20, inclusive

(b) County of Residence of First Listed Plaintiff Ventura, CA                                   County of Residence of First Listed Defendant Orange, CA
(EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                              Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                            representing yourself, provide the same information.
Joseph Thomas (101443), William Kolegraff(183861), William Sanderson (189553)
Thomas Whitelaw & Kolegraff LLP, 18101 Von Karman Ave., Ste. 230, Irvine, CA 92612 Ronald D. Kent (100717), Dentons US LLP, 4675 MacArthur Court, Suite 1250,
(949) 679-6400; Arthur H. Barens (43215), Law Offices of Arthur H. Barens, 10209   Newport Beach, CA 92660 (949) 7323700
Santa Monica Blvd, Los Angeles, CA 90067 (310) 557-0444
II. BASIS OF JURISDICTION (Place an X in one box only.)                             III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                           (Place an X in one box for plaintiff and one for defendant)
                                                                                                                   PTF        DEF                                            PTF       DEF
     1. U.S. Government               ✘   3. Federal Question (U.S.                                                      1          1   Incorporated or Principal Place            4         4
                                                                                    Citizen of This State
     Plaintiff                            Government Not a Party)                                                                       of Business in this State
                                                                                    Citizen of Another State             2          2   Incorporated and Principal Place           5         5
                                                                                                                                        of Business in Another State
     2. U.S. Government                   4. Diversity (Indicate Citizenship        Citizen or Subject of a
                                                                                    Foreign Country                      3          3 Foreign Nation                               6         6
     Defendant                            of Parties in Item III)

IV. ORIGIN (Place an X in one box only.)
                                                                                                                                               6. Multidistrict        8. Multidistrict
      1. Original           2. Removed from         3. Remanded from         4. Reinstated or            5. Transferred from Another              Litigation -            Litigation -
                        ✘
        Proceeding             State Court             Appellate Court          Reopened                    District (Specify)                    Transfer                Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND:                               ✘   Yes            No       (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                        Yes      ✘   No                     ✘    MONEY DEMANDED IN COMPLAINT: $ 1.6 billion
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause.         Do not cite jurisdictional statutes unless diversity.)
18 U.S.C. sec. 1961 RICO claim, as well as claims for breach of contract, intentional and negligent misrepresentation, breach of implied covenant, restitution, intentional
interference with contractual and prospective economic relations, conspiracy, aiding and abetting, quantum relief, and declaratory judgment

VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                  CONTRACT             REAL PROPERTY CONT.                   IMMIGRATION                  PRISONER PETITIONS                   PROPERTY RIGHTS
     375 False Claims Act           110 Insurance              240 Torts to Land              462 Naturalization               Habeas Corpus:                820 Copyrights
                                                                                              Application
                                    120 Marine                  245 Tort Product                                              463 Alien Detainee             830 Patent
     376 Qui Tam                                                Liability                   465 Other                         510 Motions to Vacate
     (31 USC 3729(a))                                           290 All Other Real                                            Sentence                       835 Patent - Abbreviated
                                   130 Miller Act                                           Immigration Actions
     400 State                                                  Property                        TORTS                         530 General                    New Drug Application
                                    140 Negotiable
     Reapportionment                Instrument                      TORTS                 PERSONAL PROPERTY                   535 Death Penalty              840 Trademark
     410 Antitrust                  150 Recovery of           PERSONAL INJURY                                                                                   SOCIAL SECURITY
                                                                                            370 Other Fraud                         Other:
     430 Banks and Banking          Overpayment &              310 Airplane                                                                                  861 HIA (1395ff)
                                    Enforcement of                                            371 Truth in Lending            540 Mandamus/Other
     450 Commerce/ICC                                          315 Airplane
                                    Judgment                   Product Liability                                              550 Civil Rights               862 Black Lung (923)
     Rates/Etc.                                                                               380 Other Personal
                                    151 Medicare Act           320 Assault, Libel &           Property Damage                 555 Prison Condition           863 DIWC/DIWW (405 (g))
     460 Deportation                                           Slander
     470 Racketeer Influ-           152 Recovery of                                           385 Property Damage             560 Civil Detainee             864 SSID Title XVI
 ✘                                                             330 Fed. Employers'            Product Liability               Conditions of
     enced & Corrupt Org.           Defaulted Student          Liability
                                    Loan (Excl. Vet.)                                                                         Confinement                    865 RSI (405 (g))
     480 Consumer Credit                                                                       BANKRUPTCY
                                                               340 Marine                                                FORFEITURE/PENALTY
     490 Cable/Sat TV               153 Recovery of                                           422 Appeal 28                                                       FEDERAL TAX SUITS
                                                               345 Marine Product             USC 158
                                    Overpayment of             Liability                                                  625 Drug Related                   870 Taxes (U.S. Plaintiff or
     850 Securities/Com-            Vet. Benefits                                             423 Withdrawal 28           Seizure of Property 21             Defendant)
     modities/Exchange                                         350 Motor Vehicle              USC 157                     USC 881
                                    160 Stockholders'                                                                                                        871 IRS-Third Party 26 USC
     890 Other Statutory            Suits                      355 Motor Vehicle               CIVIL RIGHTS                690 Other                         7609
     Actions                                                   Product Liability
                                    190 Other                                                 440 Other Civil Rights                LABOR
     891 Agricultural Acts                                     360 Other Personal
                                    Contract                   Injury                         441 Voting                     710 Fair Labor Standards
     893 Environmental                                                                                                       Act
     Matters                        195 Contract               362 Personal Injury-
                                    Product Liability          Med Malpratice                 442 Employment                 720 Labor/Mgmt.
     895 Freedom of Info.                                      365 Personal Injury-           443 Housing/                   Relations
     Act                            196 Franchise                                             Accommodations
                                                               Product Liability                                             740 Railway Labor Act
     896 Arbitration               REAL PROPERTY                                              445 American with
                                                               367 Health Care/                                              751 Family and Medical
                                    210 Land                   Pharmaceutical                 Disabilities-
     899 Admin. Procedures                                                                    Employment                     Leave Act
                                    Condemnation               Personal Injury
     Act/Review of Appeal of                                   Product Liability              446 American with              790 Other Labor
     Agency Decision                220 Foreclosure
                                                                                              Disabilities-Other             Litigation
                                                               368 Asbestos
     950 Constitutionality of       230 Rent Lease &           Personal Injury                                               791 Employee Ret. Inc.
                                                                                              448 Education
     State Statutes                 Ejectment                  Product Liability                                             Security Act

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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
QUESTION A: Was this case removed
from state court?                                                   STATE CASE WAS PENDING IN THE COUNTY OF:                                       INITIAL DIVISION IN CACD IS:
                ✘   Yes         No
                                                         Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                                Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the             ✘   Orange                                                                                                 Southern
corresponding division in response to
Question E, below, and continue from there.              Riverside or San Bernardino                                                                            Eastern



QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                              YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  the district reside in Orange Co.?                                               Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                             from there.
                                                    check one of the boxes to the right
                    Yes     ✘   No
                                                                                                                      NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in               YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino            Enter "Eastern" in response to Question E, below, and continue
Question B.1, at right.                             Counties? (Consider the two counties together.)                   from there.

                                                    check one of the boxes to the right                               NO. Your case will initially be assigned to the Western Division.
                                                                                                                      Enter "Western" in response to Question E, below, and continue
                                                                                                                      from there.

QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                          YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                                   Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                             from there.
                                                    check one of the boxes to the right
                    Yes     ✘   No
                                                                                                                      NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the           YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino                Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                   from there.

                                                    check one of the boxes to the right                               NO. Your case will initially be assigned to the Western Division.
                                                                                                                      Enter "Western" in response to Question E, below, and continue
                                                                                                                      from there.
                                                                                                                A.                           B.                             C.
                                                                                                                                      Riverside or San            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                    Orange County                  Bernardino County            Santa Barbara, or San
                                                                                                                                                                   Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district                                                                                         ✘
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                                ✘
apply.)

                D.1. Is there at least one answer in Column A?                                                 D.2. Is there at least one answer in Column B?
                                     ✘   Yes             No                                                                             Yes        ✘   No
                    If "yes," your case will initially be assigned to the                                           If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                               EASTERN DIVISION.
     Enter "Southern" in response to Question E, below, and continue from there.                                    Enter "Eastern" in response to Question E, below.
                           If "no," go to question D2 to the right.                                          If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                                 Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                                 INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                                                                 SOUTHERN

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                  ✘    Yes             No
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                    ✘    NO                  YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                ✘    NO                  YES
        If yes, list case number(s):


        Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): /s/ Ronald D. Kent                                                                                  DATE: December 13, 2018

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                       DIWC             All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended. (42 U.S.C. 405 (g))


        864                       SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 U.S.C. 405 (g))




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